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     J. Eric Kishbaugh                           04/23/2025

     J. Eric Kishbaugh
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Lorrie-Ann D. Thorne                           BK NO. 18-10926 AMC

                                   Debtor(s)            Chapter 13

  BANK OF AMERICA, N.A.                                 Related to Claim No. 1
                                   Movant
                  vs.

  Lorrie-Ann D. Thorne

                                   Debtor(s)

  Scott F. Waterman
                                   Trustee

                                  CERTIFICATE OF SERVICE

  I, J. Eric Kishbaugh, certify that on 4/23/2025, I did cause a true and correct copy of the documents
  described below to be served on the parties listed on the mailing list exhibit, a copy of which is
  attached and incorporated as if fully set forth herein, by the means indicated and to all parties
  registered with the Clerk to receive electronic notice via the CM/ECF system:
         Response to Notice of Final Cure Mortgage payment


      I certify under penalty of perjury that the above document(s) was sent using the mode of service
  indicated.

  Dated: 4/23/2025

                                                             /s/ J. Eric Kishbaugh
                                                             J. Eric Kishbaugh, Esquire
                                                             Attorney I.D. 33078
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             201-549-2363
                                                             bkgroup@kmllawgroup.com
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  Name and Address of Party Served     Relationship of                   Via
                                            Party
                                      Debtor
   Lorrie-Ann D. Thorne
                                                          Hand-delivered
   6717 Haverford Avenue
   Philadelphia, PA 19151
                                                          First Class Mail

                                                          Certified mail

                                                          E-mail

                                                          CM/ECF

                                                          Other
                                                         ______________________
                                                            (as authorized by the court *)
   Michael A. Cibik                   Attorney for
   Cibik Law, P.C.                    Debtor              Hand-delivered
   1500 Walnut Street, Suite 900
   Philadelphia, PA 19102                                 First Class Mail

                                                          Certified mail

                                                          E-mail

                                                          CM/ECF

                                                          Other
                                                         ______________________
                                                            (as authorized by the court *)
   Scott F. Waterman                  Trustee
   Chapter 13 Trustee                                     Hand-delivered
   2901 St. Lawrence Ave.
   Suite 100                                              First Class Mail
   Reading, PA 19606
                                                          Certified mail

                                                          E-mail

                                                          CM/ECF

                                                          Other
                                                         ______________________
                                                            (as authorized by the court *)
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Post-Petition   n                 Post Suspense Short Fall Balance             $0.00

                                                             Post Amt                                                   Debit from
  Transaction     Transaction    Amount      Post-petition   Due Per Contractual Amt    Posting       Credit to Post       Post      Post Suspense
      Type           Date        Received     Due Date         PCN       Applied       Over/Short       Suspense         Suspense       Balance
Beginning Balance  2/9/2018       $0.00          2/1/2018                                                       $0.00          $0.00          $0.00
Post-Petition         3/9/2018   $905.58         3/1/2018      $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition         4/9/2018   $905.58         4/1/2018      $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition         5/9/2018   $905.58         5/1/2018      $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition         6/8/2018   $905.58         6/1/2018      $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition        8/15/2018   $905.58         7/1/2018      $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition        8/15/2018   $605.58                                                                     $605.58           $0.00       $605.58
Post-Petition        8/27/2018   $300.00          8/1/2018     $905.58       $905.58       -$605.58             $0.00       $605.58           $0.00
Post-Petition        9/21/2018   $905.58          9/1/2018     $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition       10/22/2018   $905.58         10/1/2018     $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition       11/16/2018   $905.58         11/1/2018     $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition       12/28/2018   $905.58         12/1/2018     $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition        1/25/2019   $453.00                                                                     $453.00           $0.00       $453.00
Post-Petition        2/20/2019   $452.58          1/1/2019     $905.58       $905.58       -$453.00             $0.00       $453.00           $0.00
Post-Petition        2/25/2019   $500.00                                                                     $500.00           $0.00       $500.00
Post-Petition        3/19/2019   $405.58          2/1/2019     $905.58       $905.58       -$500.00             $0.00       $500.00           $0.00
Post-Petition        3/26/2019   $452.79                                                                     $452.79           $0.00       $452.79
Post-Petition        3/29/2019   $452.79          3/1/2019     $905.58       $905.58       -$452.79             $0.00       $452.79           $0.00
Post-Petition        4/26/2019   $405.58                                                                     $405.58           $0.00       $405.58
Post-Petition         5/6/2019   $500.00          4/1/2019     $905.58       $905.58       -$405.58             $0.00       $405.58           $0.00
Post-Petition        5/31/2019   $905.58          5/1/2019     $905.58       $905.58          $0.00             $0.00          $0.00          $0.00
Post-Petition        6/28/2019   $453.00                                                                     $453.00           $0.00       $453.00
Post-Petition        7/10/2019   $453.00          6/1/2019     $905.58       $905.58       -$452.58             $0.00       $452.58           $0.42
Post-Petition         8/6/2019   $453.58                                                                     $453.58           $0.00       $454.00
Post-Petition         9/6/2019   $906.00          7/1/2019     $905.58       $905.58          $0.42             $0.42          $0.00       $454.42
Post-Petition        9/20/2019   $453.00          8/1/2019     $905.58       $905.58       -$452.58             $0.00       $452.58           $1.84
Post-Petition        9/30/2019   $453.00                                                                     $453.00           $0.00       $454.84
Post-Petition        11/1/2019   $905.00          9/1/2019     $905.58       $869.21         -$0.58             $0.00          $0.58       $454.26
Post-Petition       11/27/2019   $453.00         10/1/2019     $905.58       $905.58       -$452.58             $0.00       $452.58           $1.68
Post-Petition       11/30/2019   $400.00                                                                     $400.00           $0.00       $401.68
Post-Petition       12/30/2019   $400.00                                                                     $400.00           $0.00       $801.68
Post-Petition        1/13/2020   $104.00         11/1/2019     $905.58       $905.58       -$801.58             $0.00       $801.58           $0.10
Post-Petition        1/27/2020   $453.00                                                                     $453.00           $0.00       $453.10
Post-Petition        2/24/2020   $452.48         12/1/2019     $905.58       $905.58       -$453.10             $0.00       $453.10           $0.00
Post-Petition        3/27/2020   $453.58                                                                     $453.58           $0.00       $453.58
Post-Petition        4/17/2020   $452.00          1/1/2020     $905.58       $905.58       -$453.58             $0.00       $453.58           $0.00
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Post-Petition     5/5/2020    $453.58                                                  $453.58      $0.00    $453.58
Post-Petition    5/12/2020    $452.00     2/1/2020   $905.58    $905.58    -$453.58       $0.00   $453.58       $0.00
Post-Petition    5/18/2020    $453.58                                                  $453.58      $0.00    $453.58
Post-Petition     6/5/2020    $452.00     3/1/2020   $905.58    $905.58    -$453.58       $0.00   $453.58       $0.00
Post-Petition    6/15/2020    $453.00                                                  $453.00      $0.00    $453.00
Post-Petition    7/13/2020    $435.83     4/1/2020   $888.83    $888.83    -$453.00       $0.00   $453.00       $0.00
Post-Petition    7/30/2020    $450.00                                                  $450.00      $0.00    $450.00
Post-Petition    8/24/2020    $438.83     5/1/2020   $888.83    $888.83    -$450.00       $0.00   $450.00       $0.00
Post-Petition    9/10/2020    $500.00                                                  $500.00      $0.00    $500.00
Post-Petition    9/22/2020    $388.83     6/1/2020   $888.83    $888.83    -$500.00       $0.00   $500.00       $0.00
Post-Petition    10/6/2020    $400.00                                                  $400.00      $0.00    $400.00
Post-Petition   10/19/2020    $488.83     7/1/2020   $888.83    $888.83    -$400.00       $0.00   $400.00       $0.00
Post-Petition   10/30/2020    $588.53                                                  $588.53      $0.00    $588.53
Post-Petition    11/9/2020    $300.30     8/1/2020   $888.83    $888.83    -$588.53       $0.00   $588.53       $0.00
Post-Petition   12/10/2020    $400.00                                                  $400.00      $0.00    $400.00
Post-Petition   12/28/2020    $488.83     9/1/2020   $888.83    $888.83    -$400.00       $0.00   $400.00       $0.00
Post-Petition     1/6/2021    $888.83    10/1/2020   $888.83    $888.83       $0.00       $0.00     $0.00       $0.00
Post-Petition    1/15/2021    $500.00                                                  $500.00      $0.00    $500.00
Post-Petition     2/9/2021    $388.83    11/1/2020   $888.83    $888.83    -$500.00       $0.00   $500.00       $0.00
Post-Petition     3/1/2021    $500.00                                                  $500.00      $0.00    $500.00
Post-Petition    3/25/2021    $388.83    12/1/2020   $888.83    $888.83    -$500.00       $0.00   $500.00       $0.00
Post-Petition    3/31/2021    $888.83     1/1/2021   $888.83    $888.83       $0.00       $0.00     $0.00       $0.00
Post-Petition    4/15/2021    $888.83     2/1/2021   $888.83    $888.83       $0.00       $0.00     $0.00       $0.00
Post-Petition     5/3/2021    $388.83                                                  $388.83      $0.00    $388.83
Post-Petition    5/24/2021    $400.00                                                  $400.00      $0.00    $788.83
Post-Petition    6/30/2021    $300.00     3/1/2021   $888.83    $888.83    -$588.83       $0.00   $588.83    $200.00
Post-Petition    8/16/2021    $689.00     4/1/2021   $889.00    $889.00    -$200.00       $0.00   $200.00       $0.00
Post-Petition    9/15/2021    $300.00                                                  $300.00      $0.00    $300.00
Post-Petition    9/23/2021   $3,283.00    5/1/2021   $889.00    $889.00   $2,394.00   $2,394.00     $0.00   $2,694.00
Post-Petition    9/23/2021                6/1/2021   $889.00    $889.00    -$889.00       $0.00   $889.00   $1,805.00
Post-Petition    9/23/2021                7/1/2021   $889.00    $889.00    -$889.00       $0.00   $889.00    $916.00
Post-Petition    9/23/2021                8/1/2021   $889.00    $889.00    -$889.00       $0.00   $889.00      $27.00
Post-Petition    9/30/2021    $589.00                                                  $589.00      $0.00    $616.00
Post-Petition   10/26/2021    $300.00     9/1/2021   $889.00    $889.00    -$589.00       $0.00   $589.00      $27.00
Post-Petition   12/13/2021    $300.00                                                  $300.00      $0.00    $327.00
Post-Petition   12/31/2021   $1,040.00   10/1/2021   $889.00    $889.00     $151.00    $151.00      $0.00    $478.00
Post-Petition    1/21/2022    $389.00                                                  $389.00      $0.00    $867.00
Post-Petition     3/3/2022    $500.00    11/1/2021   $889.00    $889.00    -$389.00       $0.00   $389.00    $478.00
Post-Petition    3/14/2022    $500.00    12/1/2021   $889.00    $889.00    -$389.00       $0.00   $389.00      $89.00
Post-Petition    3/25/2022    $400.00                                                  $400.00      $0.00    $489.00
Post-Petition    4/25/2022    $500.00     1/1/2022   $889.00    $889.00    -$389.00       $0.00   $389.00    $100.00
Post-Petition    5/11/2022   $4,445.00    2/1/2022   $889.00    $889.00   $3,556.00   $3,556.00     $0.00   $3,656.00
Post-Petition    5/11/2022                3/1/2022   $889.00    $889.00    -$889.00       $0.00   $889.00   $2,767.00
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Post-Petition         5/11/2022                4/1/2022   $911.49    $911.49     -$911.49       $0.00   $911.49   $1,855.51
Post-Petition         5/11/2022                5/1/2022   $911.49    $911.49     -$911.49       $0.00   $911.49    $944.02
Post-Petition         5/11/2022                6/1/2022   $911.49    $911.49     -$911.49       $0.00   $911.49      $32.53
Post-Petition         6/17/2022    $500.00                                                   $500.00      $0.00    $532.53
Post-Petition          7/1/2022    $500.00     7/1/2022   $911.49    $911.49     -$411.49       $0.00   $411.49    $121.04
Post-Petition         7/26/2022    $500.00                                                   $500.00      $0.00    $621.04
Post-Petition         8/18/2022    $550.00     8/1/2022   $911.49    $911.49     -$361.49       $0.00   $361.49    $259.55
Post-Petition         9/20/2022    $500.00                                                   $500.00      $0.00    $759.55
Post-Petition        10/17/2022    $400.00     9/1/2022   $911.49    $911.49     -$511.49       $0.00   $511.49    $248.06
Post-Petition        11/29/2022    $500.00                                                   $500.00      $0.00    $748.06
Post-Petition         1/12/2023    $250.00    10/1/2022   $911.49    $911.49     -$661.49       $0.00   $661.49      $86.57
Post-Petition         1/23/2023   $1,500.00   11/1/2022   $911.49    $911.49      $588.51    $588.51      $0.00    $675.08
Post-Petition         1/30/2023    $400.00    12/1/2022   $911.49    $911.49     -$511.49       $0.00   $511.49    $163.59
Post-Petition         3/22/2023   $2,000.00    1/1/2023   $911.49    $911.49    $1,088.51   $1,088.51     $0.00   $1,252.10
Post-Petition         3/22/2023                2/1/2023   $911.49    $911.49     -$911.49       $0.00   $911.49    $340.61
Post-Petition         4/13/2023    $734.47     3/1/2023   $911.49    $862.48     -$177.02       $0.00   $177.02    $163.59
Post-Petition          5/8/2023    $420.00                                                   $420.00      $0.00    $583.59
Post-Petition         5/15/2023    $500.00     4/1/2023   $911.49    $911.49     -$411.49       $0.00   $411.49    $172.10
Post-Petition          6/9/2023    $758.99     5/1/2023   $911.49    $911.49     -$152.50       $0.00   $152.50      $19.60
Post-Petition         7/12/2023    $700.00                                                   $700.00      $0.00    $719.60
Post-Petition         7/26/2023   $1,162.18    6/1/2023   $911.49    $911.49      $250.69    $250.69      $0.00    $970.29
Post-Petition         7/26/2023                7/1/2023   $911.49    $911.49     -$911.49       $0.00   $911.49      $58.80
Post-Petition         8/16/2023   $550.00                                                    $550.00      $0.00    $608.80
Post-Petition         9/12/2023   $500.00      8/1/2023   $911.49    $911.49     -$411.49       $0.00   $411.49    $197.31
Post-Petition         10/7/2023   $673.47                                                    $673.47      $0.00    $870.78
Post-Petition        12/12/2023   $300.00      9/1/2023   $911.49    $911.49     -$611.49       $0.00   $611.49    $259.29
Post-Petition        12/18/2023   $350.00                                                    $350.00      $0.00    $609.29
Post-Petition        12/29/2023   $568.01     10/1/2023   $911.49    $911.49     -$343.48       $0.00   $343.48    $265.81
Post-Petition          1/2/2024   $200.00                                                    $200.00      $0.00    $465.81
Post-Petition          1/4/2024   $150.00                                                    $150.00      $0.00    $615.81
Post-Petition         1/29/2024   $593.00     11/1/2023   $911.49    $911.49     -$318.49       $0.00   $318.49    $297.32
Post-Petition         2/23/2024   $456.00                                                    $456.00      $0.00    $753.32
Agreed-Order Filed    3/12/2024                2/1/2024                            $0.00        $0.00     $0.00    $456.00
Post-Petition         3/27/2024    $300.00                                                   $300.00      $0.00    $756.00
Post-Petition          4/9/2024    $300.00     3/1/2024   $911.49    $911.49     -$611.49       $0.00   $611.49    $144.51
Post-Petition         4/22/2024    $350.00                                                   $350.00      $0.00    $494.51
Post-Petition         5/17/2024    $300.00                                                   $300.00      $0.00    $794.51
Post-Petition         6/27/2024    $450.00     4/1/2024 $1,024.08   $1,024.08    -$574.08       $0.00   $574.08    $220.43
Post-Petition         7/19/2024    $450.00                                                   $450.00      $0.00    $670.43
Post-Petition         8/14/2024    $475.00     5/1/2024 $1,024.08   $1,024.08    -$549.08       $0.00   $549.08    $121.35
Post-Petition         8/15/2024    $92.24                                                      $92.24     $0.00    $213.59
Post-Petition         8/15/2024   $1,024.08    6/1/2024 $1,024.08   $1,024.08      $0.00        $0.00     $0.00    $213.59
Post-Petition         9/24/2024    $525.00                                                   $525.00      $0.00    $738.59
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Post-Petition   10/10/2024    $460.00     7/1/2024 $1,024.08   $1,024.08     -$564.08       $0.00    $564.08     $174.51
Post-Petition   10/16/2024   $2,333.65    8/1/2024 $1,024.08   $1,024.08    $1,309.57   $1,309.57       $0.00   $1,484.08
Post-Petition   10/16/2024                9/1/2024 $1,024.08   $1,024.08   -$1,024.08       $0.00   $1,024.08    $460.00
Post-Petition   10/21/2024    $265.00                                                    $265.00        $0.00    $725.00
Post-Petition   11/30/2024    $400.00    10/1/2024 $1,024.08   $1,024.08    -$624.08        $0.00    $624.08     $100.92
Post-Petition   12/20/2024   $1,123.26   11/1/2024 $1,024.08   $1,024.08      $99.18       $99.18       $0.00    $200.10
Post-Petition   12/27/2024    $824.08    12/1/2024 $1,024.08   $1,024.08    -$200.00        $0.00    $200.00        $0.10
Post-Petition    1/21/2025    $450.00                                                    $450.00        $0.00    $450.10
Post-Petition    1/27/2025    $574.08     1/1/2025 $1,024.08   $1,024.08    -$450.00        $0.00    $450.00        $0.10
Post-Petition    3/10/2025    $300.00                                                    $300.00        $0.00    $300.10
Post-Petition    3/31/2025    $280.08                                                    $280.08        $0.00    $580.18
Post-Petition    4/10/2025    $443.90     2/1/2025 $1,024.08      $0.00     -$580.18        $0.00    $580.18        $0.00
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                                                                                             2
 Fill in this information to identify the case:
 Debtor 1: Lorrie-Ann D. Thorne
 Debtor 2:
             (Spouse, if filing)

 United States Bankruptcy Court for the Eastern District of Pennsylvania
                                                         (State)
 Case number: 18-10926/JKF



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                                 12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal residence, you
must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert are recoverable against the debtor or against
the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of Creditor: Carrington Mortgage Services, LLC as servicer for Bank of                        Court Claim No. (if known): 1
America, N.A.

Last four digits of any number
you use to identify the debtor's                   XXXXXX7318
account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?’

      No
      Yes. Date of last notice:

Part 1:          Itemize Postpetition Fees, Expenses and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in the case. If the court has previously approved an
amount, indicate that approval in parentheses after the date the amount was incurred.

        Description                                                           Dates incurred                                                 Amount

1.       Late charges                                                                                                                (1)                   $0.00
2.       Non-sufficient funds (NSF) fees                                                                                             (2)                   $0.00
3.                                                                                2/13/18 – Plan Review: $325
         Attorney fees                                                            2/16/18 – Obj. to Confirmation: $500               (3)                 $825.00
4.       Filing fees and court costs                                                                                                 (4)                   $0.00
5.       Bankruptcy/Proof of claim fees                                           2/27/18                                            (5)                 $325.00
6.       Appraisal/broker's price opinion fees                                                                                       (6)                   $0.00
7.       Property inspection fees                                                                                                    (7)                   $0.00
8.       Tax advances (non-escrow)                                                                                                   (8)                   $0.00
9.       Insurance advances (non-escrow)                                                                                             (9)                   $0.00
10.      Property Preservation expenses. Specify:" ______                                                                            (10)                  $0.00
11.      Other. Specify:                                                                                                             (11)                  $0.00


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. §1322(b)(5) and
Bankruptcy Rule 3002.1.




Official Form 410S2                                    Notice of Postpetition Mortgage Fee, Expenses, and Charges                                              Page 1
Debtor 1   Case   18-10926-amc
             Lorrie-Ann D. Thorne               Doc        Filed 04/23/25
                                                                   06/28/18 Entered 04/23/25
                                                                                     06/28/18
                                                                                        Case number:14:31:01
                                                                                                    19:59:00          Desc Main
                                                                                                    _18-10926/JKF_____________
              First Name            Middle Name
                                                           Document
                                                            Document
                                                             Last Name
                                                                          Page
                                                                           Page10
                                                                                2 of 2
                                                                                     17


Part 2:       Sign Here

The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box

     I am the creditor.
     I am the creditor’s authorized agent.
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

              X     /s/ Kevin S. Frankel                                                    Date: 6/28/18
                    Signature




Print:              Kevin S. Frankel, Esquire                                               Title Attorney
                    First Name               Middle Name             Last Name

Company             Shapiro & DeNardo, LLC


Address             3600 Horizon Drive, Suite 150
                    Number          Street


                    King of Prussia, PA 19406
                    City                                     State     ZIP Code


Contact phone       (610)278-6800                                                           Email pabk@logs.com




Official Form 410S2                                Notice of Postpetition Mortgage Fee, Expenses, and Charges                     Page 2
Case
 Case18-10926-amc
      18-10926-amc Doc
                    Doc -1
                         FiledFiled
                                04/23/25
                                    06/28/18Entered
                                               Entered
                                                    04/23/25
                                                        06/28/18
                                                             14:31:01
                                                                 19:59:00
                                                                        Desc
                                                                           Desc
                                                                             Main
                     Certificate
                        Document of Service
                                        Page Page
                                              11 of 17
                                                    1 of 1




                           IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Lorrie-Ann D. Thorne                       CHAPTER 13
          Debtor.
 ______________________________                    BANKRUPTCY CASE NUMBER
 Carrington Mortgage Services, LLC as servicer for 18-10926/JKF
 Bank of America, N.A.,
          Movant,
 v.

 Lorrie-Ann D. Thorne,
   Debtor/Respondent,

 Frederick L. Reigle, Trustee,
    Additional Respondent.

                                       CERTIFICATE OF SERVICE

         I, Stefani Shankweiler, an employee of the law firm of Shapiro & DeNardo, LLC hereby certify that I
caused to be served true and correct copies of Carrington Mortgage Services, LLC as servicer for Bank of
America, N.A.'s Notice of Postpetition Mortgage Fees, Expenses, and Charges by First Class Mail, postage
prepaid or by electronic notification, at the respective last known address or email address of each person set
forth below on June 28, 2018:

Lorrie-Ann D. Thorne
6717 Haverford Drive
Philadelphia, PA 19151

Michael A. Cataldo2, Esquire
Cibik & Cataldo, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
Sent via electronic notification ecf@ccpclaw.com

Frederick L. Reigle, Trustee
2901 St. Lawrence Avenue
P.O. Box 4010
Reading, PA 19606
Sent via electronic notification ecfmail@fredreiglech13.com


     I HEREBY CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

                                                            /s/ Stefani Shankweiler
                                                            Stefani Shankweiler
                                                            Shapiro & DeNardo, LLC
                                                            3600 Horizon Drive, Suite 150
                                                            King of Prussia, PA 19406
S&D File #:18-059006                                        (610)278-6800
             Case 18-10926-amc                         Doc         Filed 04/23/25
                                                                         08/13/20 Entered 04/23/25
                                                                                            08/13/20 14:31:01
                                                                                                     15:53:03                              Desc Main
                                                                   Document
                                                                    Document Page Page12
                                                                                       1 of 2
                                                                                            17
 Fill in this information to identify the case:
 Debtor 1: Lorrie-Ann D. Thorne
 Debtor 2:
             (Spouse, if filing)

 United States Bankruptcy Court for the Eastern District of Pennsylvania
                                                         (State)
 Case number: 18-10926/AMC



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                                 12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal residence, you
must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert are recoverable against the debtor or against
the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of Creditor: Carrington Mortgage Services, LLC as servicer for Bank of                        Court Claim No. (if known): 1
America, N.A.

Last four digits of any number
you use to identify the debtor's                   XXXXXX7318
account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?’

       No
       Yes. Date of last notice: June 28, 2018

Part 1:          Itemize Postpetition Fees, Expenses and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in the case. If the court has previously approved an
amount, indicate that approval in parentheses after the date the amount was incurred.

        Description                                                           Dates incurred                                                 Amount

  1.      Late charges                                                                                                               (1)                   $0.00
  2.      Non-sufficient funds (NSF) fees                                                                                            (2)                   $0.00
  3.      Attorney fees                                                                                                              (3)                   $0.00
  4.      Filing fees and court costs                                                                                                (4)                   $0.00
  5.      Bankruptcy/Proof of claim fees                                          04/27/2020 - Amended Plan                          (5)                $150.00
  6.      Appraisal/Broker's price opinion fees                                                                                      (6)                   $0.00
  7.      Property inspection fees                                                                                                   (7)                   $0.00
  8.      Tax advances (non-escrow)                                                                                                  (8)                   $0.00
  9.      Insurance advances (non-escrow)                                                                                            (9)                   $0.00
  10.     Property preservation expenses. Specify:                                                                                   (10)                  $0.00
  11.     Other. Specify:                                                                                                            (11)                  $0.00
  12.     Other. Specify:                                                                                                            (12)                  $0.00
  13.     Other. Specify:                                                                                                            (13)                  $0.00
  14.     Other. Specify:                                                                                                            (14)                  $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. §1322(b)(5) and
Bankruptcy Rule 3002.1.




Official Form 410S2                                    Notice of Postpetition Mortgage Fee, Expenses, and Charges                                              Page 1
Debtor 1   Case   18-10926-amc
             Lorrie-Ann D. Thorne                Doc        Filed 04/23/25
                                                                    08/13/20 Entered 04/23/25
                                                                                      08/13/20
                                                                                         Case number:14:31:01
                                                                                                     15:53:03         Desc Main
                                                                                                     _18-10926/AMC_____________
              First Name             Middle Name
                                                            Document
                                                             Document
                                                              Last Name
                                                                           Page
                                                                            Page13
                                                                                 2 of 2
                                                                                      17


Part 2:       Sign Here

The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box

     I am the creditor.
     I am the creditor’s authorized agent.
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

              X     /s/ Christopher A. DeNardo                                               Date: 8/13/2020
                    Signature




Print:              Christopher A. DeNardo, Esquire                                          Title Attorney
                    First Name                Middle Name             Last Name

Company             Shapiro & DeNardo, LLC


Address             3600 Horizon Drive, Suite 150
                    Number           Street


                    King of Prussia, PA 19406
                    City                                      State     ZIP Code


Contact phone       (610) 278-6800                                                           Email pabk@logs.com




Official Form 410S2                                 Notice of Postpetition Mortgage Fee, Expenses, and Charges                    Page 2
Case
 Case18-10926-amc
      18-10926-amc Doc
                    Doc -1
                         FiledFiled
                                04/23/25
                                    08/13/20Entered
                                               Entered
                                                    04/23/25
                                                        08/13/20
                                                             14:31:01
                                                                 15:53:03
                                                                        Desc
                                                                           Desc
                                                                             Main
                     Certificate
                        Document of Service
                                        Page Page
                                              14 of 17
                                                    1 of 1




                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Lorrie-Ann D. Thorne                   CHAPTER 13
         Debtor.
 ______________________________                BANKRUPTCY CASE NUMBER
 Carrington Mortgage Services, LLC as servicer 18-10926/AMC
 for Bank of America, N.A.,
         Movant,
 v.

 Lorrie-Ann D. Thorne,
   Debtor/Respondent,
 and
 Scott Waterman, Trustee,
   Additional Respondent.

                                     CERTIFICATE OF SERVICE

        I, Grace Beatrice, an employee of the law firm of Shapiro & DeNardo, LLC hereby certify that I
caused to be served true and correct copies of Carrington Mortgage Services, LLC as servicer for Bank of
America, N.A.'s Notice of Postpetition Mortgage Fees, Expenses, and Charges by First Class Mail,
postage prepaid or by electronic notification, at the respective last known address or email address of each
person set forth below on August 13, 2020:

Lorrie-Ann D. Thorne
6717 Haverford Drive
Philadelphia, PA 19151

Michael A. Cataldo2
Cibik & Cataldo, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
Sent via electronic notification ecf@ccpclaw.com

Scott Waterman, Trustee
Chapter 13 Trustee
2901 St. Lawrence Avenue, Suite 100
Reading, PA 19606
Sent via electronic notification ecfmail@fredreiglech13.com

      I HEREBY CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
                                          /s/ Grace Beatrice
                                         Grace Beatrice
                                         Shapiro & DeNardo, LLC
                                         3600 Horizon Drive, Suite 150
                                         King of Prussia, PA 19406
S&D File #:18-059006                     (610) 278-6800
      Case 18-10926-amc                     Doc        Filed 04/23/25
                                                             05/31/23 Entered 04/23/25
                                                                                05/31/23 14:31:01
                                                                                         13:33:26                      Desc Main
                                                       Document
                                                        Document Page Page15
                                                                           1 of 3
                                                                                17
 Fill in this information to identify the case:


   Debtor 1 Lorrie-Ann D. Thorne
   (Spouse, if filing)

   United States Bankruptcy Court for the EASTERN District of Pennsylvania


   Case number 18-10926 AMC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                             12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: BANK OF AMERICA, N.A.                                                  Court claim no. (if known): 1-1                    _


 Last 4 digits of any number you use to
 identify the debtor’s account: 7318
 Does this notice supplement a prior notice of postpetition fees,
 Expenses, and charges?
 No
 Yes. Date of the last notice: 08 / 13 / 2020

 Part 1:    Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                Dates incurred                                       Amount

  1. Late charges                                                                                                      (1)   $
  2. Non-sufficient funds (NSF) fees                                                                                   (2)   $
  3. Attorney fees - MFR                                                     01/03/2023                                (3)   $ 850.00
  4. Filing fees and court costs - MFR                                       01/03/2023                                (4)   $ 188.00
  5. Bankruptcy/Proof of claim fees                                                                                    (5)   $
  6. Appraisal/Broker’s price opinion fees                                                                             (6)   $
  7. Property inspection fees                                                                                          (7)   $
  8. Tax advances (non-escrow)                                                                                         (8)   $
  9. Insurance advances (non-escrow)                                                                                   (9)   $
 10. Property preservation expenses. Specify:                                                                         (10)   $
 11. Other. Specify: Title Search                                            02/07/23                                 (11)   $ 325.00
 12. Other. Specify:                                                                                                  (12)   $
 13. Other. Specify:                                                                                                  (13)   $
 14. Other. Specify:                                                                                                  (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                           Notice of Postpetition Mortgage Fees, Expenses, and Charges                           page 1
                                                                                                                                   248
          Case 18-10926-amc                          Doc           Filed 04/23/25
                                                                         05/31/23 Entered 04/23/25
                                                                                            05/31/23 14:31:01
                                                                                                     13:33:26                        Desc Main
                                                                   Document
                                                                    Document Page Page16
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                                                                                            17

            Lorrie-Ann D. Thorne
Debtor 1                                                                               _       Case number (if known) 18-10926 AMC
                 First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
   I am the creditor.
  I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


                                                                                                         05/30/2023
                  Signature
                                 /s/ Mark A. Cronin                                            Date      _/      /




 Print:             Mark A. Cronin                                                         _   Title   Attorney for Creditor
                    First Name                       Middle Name         Last Name



 Company            KML Law Group, P.C.                                                    _



 Address            701                         Market Street, Suite 5000                  _
                    Number                  Street

                    Philadelphia,                            PA                19106
                   City                         State         Zip Code


 Contact phone      (215)627–1322                                                              Email @kmllawgroup.com




Official Form 410S2                                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 2
                                                                                                                                            249
Case 18-10926-amc          Doc
                             Filed 04/23/25
                                   05/31/23 Entered 04/23/25
                                                      05/31/23 14:31:01
                                                               13:33:26                     Desc Main
                            Document
                             Document Page  Page17
                                                 3 of 3
                                                      17
                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Lorrie-Ann D. Thorne                            BK NO. 18-10926 AMC
                                    Debtor(s)
                                                         Chapter 13
  BANK OF AMERICA, N.A.
                                    Movant               Related to Claim No. 1-1
                   vs.

  Lorrie-Ann D. Thorne
                                    Debtor(s)

  Scott F. Waterman,
                                    Trustee

                      CERTIFICATE OF SERVICE
   NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES
  I, Mark A. Cronin of KML Law Group, P.C., certify that I am, and at all times hereinafter
  mentioned was, more than 18 years of age and that on May 31, 2023, I served the above captioned
  pleading, filed in the proceeding on the parties at the addresses shown below:

  Debtor(s)
  Lorrie-Ann D. Thorne
  6717 Haverford Avenue                                  Attorney for Debtor(s) (via ECF)
  Philadelphia, PA 19151                                 Michael A. Cibik2, Esq.
                                                         Cibik Law, P.C.
                                                         1500 Walnut Street, Suite 900
                                                         Philadelphia, PA 19102

                                                         Trustee (via ECF)
                                                         Scott F. Waterman
                                                         2901 St. Lawrence Ave.
                                                         Suite 100
                                                         Reading, PA 19606


  Method of Service: electronic means or first-class mail.

  Dated: May 31, 2023

                                                             /s/ Mark A. Cronin
                                                             Mark A. Cronin, Esquire
                                                             Attorney I.D. 58240
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             215-627-1322
                                                             mcronin@kmllawgroup.com
